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                     EXHIBIT 3
           Correspondence from
        Marc Randazza to state court

            Dated November 6, 2017
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                                                                 Marc J. Randazza, JD, MAMC, LLM
                                                                    Licensed in AZ, CA, FL, MA, NV




                                                                             6 November 2017

Via Email and Hand Delivery
<Dept29LC@clarkcountycourts.us>

Hon. David Jones
Eighth Judicial District Court
Regional Justice Center
200 Lewis Avenue
Las Vegas, Nevada 89155

        Re:     Switch, Ltd. adv. Stephen Fairfax, et al. | Case No. A-17-761382-C

Dear Judge Jones:

We represent Stephen Fairfax and MTechnology with respect to the above-referenced
matter. On October 11, 2017, Plaintiff Switch, Ltd. filed a Motion for Preliminary Injunction
in this case. On October 12, 2017, Defendants removed the case to the U.S. District Court
for the District of Nevada based upon federal question jurisdiction pursuant to 28 U.S.C.
§ 1331. On that same date, Defendants gave written notice of removal to Plaintiff Switch
and filed notice of that removal with the state court. Pursuant to 28 U.S.C. § 1446(d),
removal became effective on October 12, 2017, and this Court was not permitted to
“proceed … further unless and until the case is remanded.” Given that the state case
was effectively over on October 12, Defendants did not oppose the state Motion for
Preliminary Injunction.

On October 31, 2017, Plaintiff Switch re-filed its Motion for Preliminary Injunction in federal
court. In that re-filed Motion, Switch notes that the Court granted its state court Motion
on October 19, 2017. Specifically, Switch states “[t]his Motion is being reasserted as a
result of the removal of this action from the Nevada Eighth District Court, where the court
granted this Motion before learning that the case, days earlier, had been removed.”
(See Federal Motion for Preliminary Injunction, attached hereto, at 2.)

Respectfully, this Court did not have jurisdiction over this matter on October 19, 2017.
In fact, the docket stated that the case was closed several days before the hearing
occurred. The Motion was not briefed at all by Defendants (the matter having been
removed for a week before the hearing), and neither party appeared before you to
argue the Motion on October 19 (same).

We appreciate that this was an oversight that would normally be of little consequence.
After all, in the absence of jurisdiction, a court’s order has no effect. However, Switch
has already used this Court’s erroneous injunction to infer to the federal court that its
Motion is meritorious. Accordingly, what should have been a simple error may well have
a negative effect upon our client’s due process rights. Further, the fact that an injunction
was entered at all, even one that was improperly entered, could have additional
negative effects upon our client.



                   4035 South El Capitan Way, Las Vegas, Nevada 89147
                                 mjr@randazza.com | 702.420.2001
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Thus far, Switch has used the erroneous injunction in a misleading way regarding what
transpired in state court and implied that the state Motion was fully briefed and decided
on its merits. We are additionally concerned that Switch may use the erroneous
injunction to negatively impact MTechnology’s relationships with its customers. The
erroneous Order could also negatively impact our client’s business and insurance
positions, ability to seek amicus support, and other attempts to seek third party support in
the ongoing litigation.

In order to prevent Plaintiff Switch (or any other party) from misusing this erroneous
injunction, and to extinguish any other possible negative impacts, we respectfully request
that you consider correcting the record to clearly indicate that the state court case was
closed on October 12, 2017 and vacating the erroneous injunction issued on October 19,
2017. In order to facilitate this, we attach a proposed order for your consideration and
adoption.

Thank you for your consideration to this matter.

                                                    Sincerely,




                                                    Marc J. Randazza


cc:     F. Christopher Austin, Esq. (via email)
        Ryan Gile, Esq. (via email)
        Samuel D. Castor, Esq. (via email)

encl:   Federal Motion for Preliminary Injunction
        Proposed Order
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                                                                  1   Samuel Castor, Esq.
                                                                      Nevada Bar No. 11532
                                                                  2   SWITCH, LTD.
                                                                      7135 S. Decatur Blvd.
                                                                  3   Las Vegas, Nevada 89118
                                                                  4   F. Christopher Austin (Nevada Bar No. 6559)
                                                                      caustin@weidemiller.com
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                                                                      rgile@weidemiller.com
                                                                  6   WEIDE & MILLER, LTD.
                                                                      Bank of Nevada Bldg., 5th Floor
                                                                  7   7251 West Lake Mead Blvd., Ste. 530
                                                                      Las Vegas, Nevada 89128
                                                                  8   Telephone: (702) 382-4804
                                                                      Facsimile: (702) 382-4805
                                                                  9
                                                                      Attorneys for Plaintiff
                                                                 10   SWITCH, LTD.

                                                                 11                                UNITED STATES DISTRICT COURT

                                                                 12                                    DISTRICT OF NEVADA

                                                                 13    SWITCH, LTD. a Nevada limited liability            Case No.: 2:17-cv-2651
SAMUEL CASTOR, ESQ.




                                                                       company,
                                     Telephone: (702) 333-6566
                                       Las Vegas, NV 89118
                                         6795 Decatur Blvd.
                      SWITCH, LTD.




                                                                 14                                                       MOTION FOR PRELIMINARY
                                                                                      Plaintiff,                          INJUNCTION
                                                                 15
                                                                 16    vs.

                                                                 17    STEPHEN FAIRFAX; MTECHNOLOGY; and
                                                                       DOES 1 through 10; ROE ENTITIES 11
                                                                 18    through 20, inclusive,
                                                                 19
                                                                                      Defendants.
                                                                 20
                                                                 21
                                                                 22          Pursuant to FRCP 65, Plaintiff Switch, Ltd., a Nevada limited liability company

                                                                 23   (“Switch”) hereby submits this Motion for Preliminary Injunction (the “Motion”) to stop the

                                                                 24   hemorrhaging of Defendants’ ongoing misappropriation of trade secrets and breaches of

                                                                 25   contract, hereby requesting the following:

                                                                 26          (1) a preliminary injunction requiring Defendants to cease and desist all design of any

                                                                 27   data center;

                                                                 28



                                                                                                                    1
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 1              (2) a preliminary injunction requiring Defendants to remove all promotional materials

 2   on MTechnology.net, and any other social media account, or webpage over which Defendant

 3   exercises any control (e.g. YouTube) regarding their design efforts for Aligned Data Centers

 4   (“Aligned”); and

 5              (3) an order granting the immediate delivery to Switch of all documents, contracts and

 6   emails exchanged between Defendants and Aligned.

 7              This Motion is being reasserted as a result of the removal of this action from the Nevada

 8   Eighth District Court, where the court granted this Motion before learning that the case, days

 9   earlier, had been removed.1

10              This Motion is made pursuant to FRCP 65 with the following Memorandum of Points

11   and Authorities, the supporting exhibits attached hereto, the papers and pleadings on file

12   herein, and any oral argument that this Court may allow.

13              Dated this 31st day of October, 2017.

14                                                         WEIDE & MILLER, LTD.
15
                                                           By: /s/ F. Christopher Austin
16                                                             F. Christopher Austin
                                                               caustin@weidemiller.com
17                                                             Ryan Gile
                                                               rgile@weidemiller.com
18                                                             Bank of Nevada Bldg., 5th Floor
                                                               7251 W. Lake Mead Blvd., Ste. 530
19                                                             Las Vegas, NV 89128
20                                                              Attorneys for Plaintiff SWITCH, LTD.
21
22
23
24
25
26
27

28
     1
         See Court Minutes, Case A-17-761382-C, Switch v. Fairfax (Oct. 19, 2017), granting Motion.



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 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2
 3   I.       INTRODUCTION AND STATEMENT OF GOOD CAUSE

 4            This Motion is brought under Switch’s claims for breach of contract, violation of the

 5   Defend Trade Secrets Act of 2016, and Misappropriation of Trade Secrets under N.R.S. 600A.

 6   Defendants publicly promote Switch’s confidential and trade secret information for the benefit

 7   of Defendants and Aligned Data Centers in spite of Defendants signing strict non-disclosure

 8   agreements (“NDAs”) with Switch. Namely, Defendant Fairfax personally promotes his blank

 9   page stage2 involvement in designing Aligned Data Center (“Aligned”) technology in videos

10   and blog posts. Mr. Fairfax did this after assuring Switch, verbally and in writing, that he

11   would never compete or design a data center.

12            Switch, in reliance on Mr. Fairfax’s promise and the NDAs, disclosed the highly

13   confidential and trade secret protected information Mr. Fairfax requested, and gave Mr. Fairfax

14   a uniquely in-depth tour of Switch’s facilities so that he might better understand the import of

15   such highly confidential disclosures. But for Mr. Fairfax’s promise that he would never design

16   a data center, Switch would not have made the requested disclosures. After signing strict

17   NDAs and then thoroughly and repeatedly inspected Switch’s facilities, Fairfax designed the
18   Aligned facilities in breach of his confidentiality agreements with Switch.
19            Switch’s has already been tortiously impacted by Defendants unlawful actions and
20   Switch will continue to be damaged unless this Motion is granted. Defendants’ actions have
21   irreparably harmed Switch. Fairfax’s unlawful and ongoing disclosure of Switch’s trade
22   secrets destroys the value of such trade secrets, rendering the technological innovations taught
23   by them commonplace and damaging Switch’s reputation as an innovator solely in possession
24   of cutting edge technology. As such damage is per se incapable of being remedied by any
25   monetary sum, it is irreparable under the law.
26
27
     2
28    See Exhibit 1 which includes screen shots of the videos at issue where Fairfax admits, publicly and in his own
     words, that he was integral in the design of the Aligned Facilities.



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 1             In addition, because of Defendants unlawful actions, Switch has already lost contracts.

 2   Switch is currently negotiating a contract with a customer who is entertaining offers from

 3   Aligned. Unless this Motion is granted, Defendants and Defendants’ clients, Aligned, will

 4   continue to promote Switch’s technology as their own and unlawfully force Switch to compete

 5   against its own technology, further irreparably harming Switch.

 6             Switch brought this Motion on an ex parte basis in state court because Defendants

 7   appeared to be avoiding service, as the server reported that individuals at Defendants place of

 8   business reported they were neither officers nor authorized to accept service. Switch has

 9   subsequently learned that service has been effectuated and, therefore, brings this Motion with

10   notice.

11             Switch has separately filed an action against Aligned Data Centers for patent

12   infringement and related claims in the Eastern District of Texas; however, given recent U.S.

13   Supreme Court and U.S. Circuit Court decisions regarding venue, it appears unlikely that

14   Switch could seek the relief requested in this action against Fairfax in Texas. Thus, this action

15   and this Motion have been brought in Nevada. Id.

16
17   II.       STATEMENT OF FACTS
18             A.     Switch Has Unique Data Center Technologies and Trade Secrets.
19             Data centers are the heart of the internet. As technology has become increasingly
20   integral to our daily lives, the need for data centers (particularly, efficient and reliable data
21   centers) has increased, exponentially. Central to Switch’s innovative technologies are Rob
22   Roy’s designs. Switch’s novel technology and trade secrets has allowed Switch to build and
23   operate their data centers dramatically more cost efficiently than their competitors. Because
24   of these technologies, various groups have applauded Switch’s data centers as superior to those
25   built by Apple, Google, Facebook, Amazon, Microsoft, and other technology giants.3
26
27
     3
28    See http://www.greenpeace.org/international/en/publications/Campaign-reports/Climate-Reports/clicking-
     clean-2017/. See also http://datacenterfrontier.com/top-10-cloud-campuses/.



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 1              Switch is a Nevada limited liability company organized and existing under the laws of

 2   the State of Nevada. Switch is a Las Vegas-based company that designs, constructs, and

 3   operates the world’s most powerful telecommunication offerings, data centers and service

 4   technology ecosystems. Switch’s facilities sustainably power, cool, and protect the physical

 5   infrastructure and networks necessary to run the Internet.

 6              In addition to being well-known for its innovative technologies and confidential

 7   approach to its services, Switch is also recognized for providing military grade physical

 8   security to protect its customers and Switch’s intellectual property. Visitors to Switch’s

 9   facilities must first sign non-disclosure agreements and agree to comply with Switch’s security

10   protocols. This high degree of physical security and constant presence of security personnel

11   allows Switch to limit access to its trade secrets, patent-pending technologies, confidential

12   designs and protocols, and to preserve the integrity of its mission critical operations that power

13   the Internet.

14              B.      Stephen Fairfax Has Publicly Admitted to Designing Aligned’s Facilities.

15              On or about May 2011 and again on August 2015, Switch permitted Stephen Fairfax to

16   conduct and in-depth investigation of Switch’s facilities. Switch gave Fairfax special access

17   to Switch’s confidential and trade secret information to conduct a thorough audit and
18   assessment of Switch’s technologies for the benefit of a Switch customer. Like all other
19   visitors to Switch facilities, Mr. Fairfax signed strict nondisclosure agreements in which he
20   committed not to disclose or use any of Switch’s confidential information. As a necessary
21   precondition to disclosure of highly confidential information, Mr. Fairfax also confirmed
22   verbally and in writing, that he would never build a data center.
23              Unbeknownst to Switch, Fairfax was hired in 2013 by Aligned, a provider of new data
24   centers in Arizona and Phoenix, at or around the same time he reassured Switch he had “no
25   interest in building and operating data centers.” Roughly twelve (12) months thereafter,
26   Fairfax personally and publicly started promoting his integral involvement in designing
27   Aligned’s facilities “while the paper was literally still blank.”4                 A simple side-by-side

28
     4
         (https://www.aligneddatacenters.com/video/steve-fairfax-mtechnology-aligned-data-centers at 1:09).



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 1   comparison of Aligned’s technology versus Switch’s technology reveals the facial similarities.

 2   The obvious duplication is not happenstance5:

 3                    Switch T-SCIF                                    Aligned “Customer Pod”
                        Side View                                              Side View
 4
 5
 6
 7
 8
 9
10
                      Switch T-SCIF                                   Aligned “Customer Pod”
11                     Front View                                           Front View
12
13
14
15
16
17
18
                    Switch T-SCIF                                    Aligned “Customer Pod”
19           Top View Showing the Heat Shield                    Top View Showing the Heat Shield
20
21
22
23
24
25
26
27
     5
28     The Aligned images are from www.aligneddatacenters.com, last visited on 10/01/17. The red labeling on the
     last four images titled “Aligned Data Center - Cross-Section of Entire Facility” is provided for clarity.



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 1               Switch T-SCIF                     Aligned “Customer Pod”
 2                   Side View                           Side View

 3
 4
 5
 6
 7
 8
 9                  Switch T-SCIF                       Aligned “Customer Pod”
                       Diagram                                  Diagram
10
11
12
13
14
15
16
17               Switch Data Center                     Aligned Data Center
          Cross-Section of Entire Facility          Cross-Section of Entire Facility
18
19
20
21
22
23
24                Switch Data Center                    Aligned Data Center
            Cross-Section of Entire Facility        Cross-Section of Entire Facility
25
26
27

28



                                               7
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 1
 2                 Switch Data Center                              Aligned Data Center
            Cross-Sections of Entire Facility                  Cross-Sections of Entire Facility
 3
 4
 5
 6
 7
 8
 9                Switch Data Center                               Aligned Data Center
             Cross-Section of Entire Facility                  Cross-Section of Entire Facility
10
11
12
13
14
15
16
17
18               Switch Data Center                                 Aligned Data Center
            Cross-Section of Entire Facility                     Cross-Section of Entire Facility
19
20
21
22
23
24
25
26          The mimickery is painfully obvious. Current and potential customers have continued
27   to comment to Switch that Aligned’s facilities look just like Switch’s. Declaration of Anne-
28   Marie Birk at ¶6.


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 1   III.    ARGUMENT

 2           To obtain a preliminary injunction in Nevada, the following must be considered:

 3           1.      A party must demonstrate that it has a reasonable probability of success on the

 4   merits of its underlying claims;

 5           2.      Without injunctive relief, plaintiff will suffer irreparable harm for which

 6   compensatory damages are inadequate;

 7           3.      The court may weigh the public’s interest in seeing the harm stopped, as well

 8   as the relative hardships of the parties should the court take or refuse to take action; and

 9           4.      The purpose of the restraining order/injunction is to preserve the status quo, or

10   to “preserve a business or property interest.” Winter v. Natural Resources Defense Council,

11   Inc., 555 U.S. 7, 20 (2008) (reasserting traditional four- factor test: (i) likely to succeed on the

12   merits, (ii) likely to suffer irreparable harm, (iii) the balance of equities favor moving party,

13   and (iv) an injunction is in the public interest); Guion v. Terra Mktg. of Nev., Inc., 90 Nev. 237,

14   240 (1974).

15           5.      A Bond as required by FRCP 65(c), to the extent required by the Court.

16           Switch is entitled to a preliminary injunction and temporary restraining order for the

17   following reasons:
18           A.      Switch is likely to succeed on the merits of the relevant claims.
19
             To obtain injunctive relief, a party must demonstrate that it will likely succeed on the
20
     merits of its underlying relevant claims. Winter, at 20. Here, it is likely that Switch will
21
     succeed on the merits of the case because the Defendant has personally and publicly admitted
22
     to breaching his contracts with Switch.           As explained above, Stephen Fairfax and
23
     MTechnology were retained by a Switch client and permitted, subject to a stringent Non-
24
     Disclosure Agreement to view Switch’s trade secret information. After assuring Switch in
25
     writing that he had no interest in building data centers, Switch permitted Fairfax to return a
26
     second time to inspect Switch’s trade secrets.
27

28



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 1            Despite Defendants’ contractual commitments and repeated verbal assurances

 2   regarding those commitments, Mr. Fairfax then touts his doing the very thing he assured

 3   Switch he would not do: he designed a competing facility. A comparison between Switch

 4   facilities and Aligned facilities reveal uncanny likeness. Aligned even named the electrical

 5   cabling of its facility a “power spline” in blatant imitation of Switch’s “power spine.”6 Except

 6   for superficial differences, the facilities and the technology appear identical. These striking

 7   similarities are not the result of coincidence but rather demonstrate clearly that Stephen Fairfax

 8   and MTechnology misappropriated confidential and trade secret information in the design of

 9   Aligned Data Centers. Given the obvious misappropriation coupled with Stephen Fairfax’s

10   admission that he participated in the design from the “blank page” stage, it is likely that Switch

11   will prevail on the merits of its misappropriation of trade secrets claim and related claims,

12   satisfying the first factor for the imposition of injunctive relief.

13            B.       Without injunctive relief, Switch will suffer irreparable harm for which
                       compensatory damages are inadequate.
14
15            In order for an injunction to be granted, a party must show irreparable harm. Winter at
16   20-24. Here, the misappropriation of trade secrets has and continues to cause irreparable harm
17   to Switch. In additional to monetary damages,7 Switch’s reputation and good will are being
18   undermined. As discussed above, Switch’s trade secrets give it a competitive edge in the
19   market, set it apart from its competitors, and uniquely identify it as at the cutting edge in data
20   center innovation only to the degree such trade secrets are not generally known. Thus, the
21   value of Switch’s trade secrets is inexorably connected to its reputation and good will, neither
22   of which can be reduced to a dollar amount or calculated as a monetary damage. Customers,
23   both potential and actual, have commented to Switch that the facilities look just like each other.
24   The harm is irreparable.
25
26
     6
       See http://www.datacenterknowledge.com/archives/2015/10/19/modular-cooling-system-enables-demand-
27   data-center-capacity (where Aligned promotes its “spline” in the center section of the facility).
     7
       Switch has already lost contracts with at least one very large potential client and at this time a multimillion-
28   dollar potential client is deciding whether to contract with Switch or Aligned. There would have been no loss,
     no injury to Switch, but for Fairfax’s breach of his agreement.



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 1          Pursuant to both state and federal law, Fairfax has caused Switch irreparable harm.

 2   Irreparable harm is presumed in situations where a confidentiality agreement or restrictive

 3   covenant has been breached or trade secrets have been misappropriated. See EchoMail, Inc. v.

 4   Am. Express Co., 378 F. Supp. 2d 1, 4 (D. Mass. 2005); Storage Tech. Corp. v. Custom

 5   Hardware Eng’g & Consulting, Inc., 2004 WL 1497688 (D. Mass. 2004); FMC Corp v.

 6   Taiwan Tainan Giant Indus. Co., Ltd., 730 F.2d 61, 63 (2nd Cir. 1984) (trade secrets, once

 7   lost, are lost forever; such loss cannot be measured in money damages); Ivy Mar Co. v. C.R.

 8   Seasons, Ltd., 907 F. Supp. 547, 566 (E.D.N.Y. 1995); Computer Assoc. Int’l, Inc. v. Bryan,

 9   784 F. Supp. 982, 986 (E.D. N.Y. 1992); Refractory Technology, Inc. v. Koski, 1990 WL

10   119560, at *3 (N.D. Ill. 1990) (loss of trade secret would cause plaintiff immediate, irreparable

11   harm); ISC-Bunker Ramo Corp. V. Altech, Inc., 765 F. Supp. 1310, 1338 (N.D. Ill. 1990) (“it

12   is often difficult to …. [d]etermine the monetary damages suffered thereby”); CPG Prods.

13   Corp. v. Mego Corp., 214 U.S.P.Q. 206, 214-15 (S.D. Ohio 1981) (the threat of disclosure,

14   destruction, or dilution of trade secret constitutes irreparable injury justifying injunctive

15   relief); Donald McElroy, Inc. v. Delany, 389 N.E.2d 1300, 1308 (1st Dist. 1979) (Once a

16   protectable interest has been established, injury to plaintiff will presumably follow if that

17   interest is not protected; threat of irreparable harm sufficient where former employee violated
18   the terms of a non-disclosure agreement and was about to use confidential information against
19   the plaintiff, irreparable injury was shown and preliminary injunction was properly granted).
20          Fairfax’s unlawful and ongoing disclosure of Switch’s trade secrets destroys the value
21   of such trade secrets, rendering the technological innovations taught by them commonplace
22   and damaging Switch’s reputation as an innovator solely in possession of cutting edge
23   technology. As such damage is per se incapable of being remedied by any monetary sum, it is
24   irreparable under the law.
25          Switch has built its reputation as a leader in the data colocation industry. This
26   reputation is built on the technology and trade secrets developed by Rob Roy. Now this
27   technology is being misappropriated by Stephen Fairfax and MTechnology in the design and

28   development of Switch competitors. Because Fairfax’s unlawful disclosure of Switch’s



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 1   confidential information and trade secrets has and is presently causing irreparable harm to

 2   Switch, a preliminary injunction is proper and warranted under the law.

 3           C.       The public interest and the relative hardships all weigh in favor of Switch.

 4           The public has an interest in preserving trade secret and confidential information. The

 5   preservation of confidential and trade secret protects small and large business alike. Without

 6   a recourse in the event of misappropriation, business owners would be unprotected and lose

 7   any the ability to compete. Switch provides employment for hundreds of individuals in the

 8   Las Vegas metropolitan area. Switch has taken all possible measures to protect its trade secret

 9   information, including requiring anyone entering any Switch facility to sign non-disclosure

10   agreements and shielding its trade secrets from public view. Allowing Fairfax to continue to

11   disclose Switch’s misappropriated trade secrets and confidential information damages the

12   public’s interest in protecting such information and encouraging innovation. Absent robust

13   preliminary enforcement of such trade secrets and confidential information, such trade secrets

14   and confidentiality would be lost forever. Even should a party prevail at trial, the harm would

15   already have been done. The party would have lost the competitive edge the public intends for

16   such confidential information and trade secrets to provide. The public interest therefore favors

17   preserving confidential information and trade secrets generally and in the present action by
18   enjoining misappropriation and continuing disclosure of such confidential information and
19   trade secrets.
20           Here, the relative hardships all weigh in favor of Switch because, as discussed,
21   irreparable harm has occurred and will continue to occur if Switch’s trade secrets continue to
22   be misappropriated and disclosed by Stephen Fairfax and MTechnology. There is no harm to
23   Fairfax and MTechnology because they insisted they were not in the business of designing data
24   centers. Thus, Defendants will not be harmed by requiring Defendants to honor their promise
25   not to be in the business of designing or auditing business.
26           Accordingly, there is no harm to Defendants. In 2011, and again as late as May of
27   2013, Mr. Fairfax himself noted that he had no interest in building or operating data centers.

28   Prior to learning Switch’s confidential information and trade secrets, no part of Defendants’



                                                   12
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 1   business involved the designing or building of data centers.               In fact, according to

 2   MTechnology’s own webpage, MTechnology is focused on “applying the science of

 3   Probabilistic Risk Assessment…”8 No reference is made to the design and/or construction of

 4   data centers. Only after Defendants obtained Switch’s confidential information and trade

 5   secrets did Fairfax and MTechnology commence such a business and they did so by unlawfully

 6   misappropriating and using Switch’s confidential information and trade secrets in direct

 7   violation of the promises, covenants and agreements Defendants had made not to do those very

 8   things.

 9             The status quo ante that the injunction requests, therefore, is a return to the status of

10   Defendants prior to their violations, misappropriations and unlawful disclosures. Because this

11   Motion properly seeks to restore the parties only to their respective positions prior to the

12   complained of departures from that status quo by Defendants, this Motion, on balance, imposes

13   little or no hardship on Defendants. It leaves them in the position they were in prior to their

14   wrongful conduct, harming them not at all. It does not prohibit either Defendant from engaging

15   in the businesses they were engaged in prior to their sanctionable conduct; nor does is prevent

16   Defendants from obtaining an income or profits from any prior-established lawful pursuits. It

17   merely enjoins them from continuing to harm Switch by their recent, unlawful actions. To do
18   this, Switch respectfully request the Court enjoin Stephen Fairfax and MTechnology from
19   continuing to design data center facilities and require them to remove any videos, blogs, or
20   promotional materials involving Fairfax and his design involvement with Aligned Data
21   Centers. While such an injunction would have little or no impact on their Defendants’ lawful
22   and existing business, status quo ante, the absence of such an injunction—as discussed infra—
23   would result in the permanent, irreparable loss of Switch’s trade secrets, confidential
24   information, and the intangible good will and reputation Switch has built upon such intellectual
25   property assets. Clearly the balancing of harms favors Switch, and a preliminary injunction is
26   warranted.
27   ///

28
     8
         http://www.mtechnology.net/about_us.htm



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 1           D.      This Court should only require nominal security.

 2           As explained above, it is anticipated that Defendants will suffer no financial

 3   consequences should the Court enter the requested preliminary injunction. Moreover, by

 4   Defendant’s own admission, he has done what he promised Switch he would not do, design

 5   data centers. Therefore, a bond is unnecessary. However, in the event that the Court requires

 6   that a bond or other security be posted by Switch, Switch requests that the Court set an amount

 7   that is no greater than $1,000.00.

 8
 9   IV. CONCLUSION

10           Fairfax did something he contractually promised he would not do; he used Switch’s

11   trade secrets to design a competing facility, and then promoted that unlawful activity. Based

12   upon the foregoing, Switch has shown it meets the standard for injunctive relief. Switch has

13   demonstrated it is likely to succeed on the merits, it will suffer irreparable harm if an injunction

14   does not issue, the balance of hardships tips in its favor, and an injunction is in the public’s

15   best interest. Therefore, Switch respectfully asks this Court to grant this Motion for a

16   Preliminary Injunction pending adjudication of this matter on the merits.

17           Dated this 31st day of October, 2017.
18
19                                                   WEIDE & MILLER, LTD.
20                                                   By: /s/ F. Christopher Austin
                                                         F. Christopher Austin
21                                                       caustin@weidemiller.com
                                                         Ryan Gile
22                                                       rgile@weidemiller.com
                                                         Bank of Nevada Bldg., 5th Floor
23                                                       7251 W. Lake Mead Blvd., Ste. 530
                                                         Las Vegas, NV 89128
24
                                                          Samuel Castor, Esq.
25                                                        Anne-Marie Birk, Esq.
                                                          SWITCH, LTD.
26                                                        7135 S. Decatur Blvd.
27                                                        Las Vegas, Nevada 89118
                                                          Attorneys for Plaintiff SWITCH, LTD.
28



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 7   Las Vegas, Nevada 89128
     Telephone: (702) 382-4804
 8   Facsimile: (702) 382-4805
 9   Attorneys for Plaintiff
     SWITCH, LTD.
10
                                  UNITED STATES DISTRICT COURT
11
                                       DISTRICT OF NEVADA
12
      SWITCH, LTD. a Nevada limited liability             Case No.: 2:17-CV-2651
13    company,
14
                     Plaintiff,
15
      vs.
16
17    STEPHEN FAIRFAX; MTECHNOLOGY; and
      DOES 1 through 10; ROE ENTITIES 11
18    through 20, inclusive,

19                   Defendants.
20
21
            DECLARATION OF ANNE-MARIE BIRK IN SUPPORT OF PLAINTIFF’S
22                   MOTION FOR PRELIMINARY INJUNCTION
23           I, Anne-Marie Birk, declare under penalty of perjury under the laws of the United States

24   as follows:

25           1.     The undersigned, being warned that willful or false statements and the like, are

26   punishable by fine or imprisonment, or both, under 18 U.S.C. 1001, and that such willful false

27   statements and the like may jeopardize the validity of the application or document or any

28   registration resulting therefrom, declares that all statements made of his own knowledge are



                                                    1
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 1   true; and all statements made on information and belief are believed to be true.

 2          2.      This declaration is submitted in support of Switch Ltd.’s Motion for Preliminary

 3   Injunction.
 4          3.      I am Associate General Counsel for Switch, Ltd. and have acted in that capacity

 5   since May of 2017.
 6          4.      Switch is a Nevada limited liability company organized and existing under the
 7   laws of the State of Nevada.
 8          5.      Applicant is a Las Vegas-based company that designs, constructs, and operates
 9   the world's most powerful data centers and technology ecosystems.
10          6.      I am informed, believe, and have reviewed documents showing current and
11   potential customers—who having viewed the data centers of Switch and Aligned—have
12   commented that Aligned’s later constructed data center look just like Switch’s.
13          7.      Through the Constable in Massachusetts, Switch attempted to effectuate service
14   starting September 12, 2017. Even though the summons and complaint were left with
15   employees at Defendants’ place of business, the Constable reported that service was not
16   effectuated as the employees stated they were not officers or agents of Defendants and not
17   authorized to accept service.
18          8.      The parties were simultaneously involved in parallel litigation for patent
19   infringement in Texas. In the course of that patent infringement litigation, counsel for the
20   parties have discussed this pending matter and the service issues related to it.
21          9.      Switch emailed a copy of the complaint to counsel for Defendants and requested
22   that Counsel for Defendants accept service on behalf of their client. However, Defense Counsel
23   refused to accept service.
24          10.     Based on those fact, Switch was of the impression that Defendants were evading
25   service, so Switch originally filed this as an Ex Parte Motion for a Preliminary Injunction in
26   State Court.
27   ///
28   ///


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 1
 2          11.     Switch has subsequently been informed by Defendant’s counsel that service

 3   was effectuated earlier.
 4          Executed this 31st day of October, 2017.

 5                                                     /s/ Anne-Marie Birk
                                                       ANNE-MARIE BIRK, ESQ.
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                                                 Exhibit 1




Mr. Fairfax explains that Aligned retained him to assist in the design of their data center “while the paper
was literally still blank”. See https://www.aligneddatacenters.com/video/steve-fairfax-mtechnology-
aligned-data-centers at 1:11. See also https://www.youtube.com/watch?v=KZRwktOCvdo&list=PLQ-
RIHgVtTDInqq_HLtYGWz-jr3Se1xfg.




Mr. Fairfax also emphasizes that Aligned “told us their reliability target … and gave us a seat at the table
to participate in the design process in order to ensure that they achieved that goal.” See
https://www.aligneddatacenters.com/video/steve-fairfax-mtechnology-aligned-data-centers at 1:26.
See also https://www.youtube.com/watch?v=KZRwktOCvdo&list=PLQ-RIHgVtTDInqq_HLtYGWz-
jr3Se1xfg.
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 1                               CERTIFICATE OF SERVICE

 2
 3          I hereby certify that I am an employee of WEIDE & MILLER, LTD. and that on October

 4   31, 2017, I served a full, true and correct copy of the foregoing MOTION FOR

 5   PRELIMINARY INJUNCTION via CM-ECF to the addressees listed below:

 6                 Marc J. Randazza, Esq.
 7                 Ronald D. Green, Esq.
                   Alex J. Shepard, Esq.
 8                 Randazza Legal Group, PLLC
                   4035 S. El. Capitan Way
 9                 Las Vegas, NV 89147
10                 702-420-2001
                   efc@randazza.com
11
12                 Attorneys for Defendants STEPHEN
                   FAIRFAX and MTECHNOLOGY
13
14
                                                     /s/ James L. Morris
15                                                     An employee of Weide & Miller, Ltd.

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 1 ORDR
   Marc J. Randazza (NV Bar No. 12265)
 2 Ronald D. Green (NV Bar No. 7360)
   Alex J. Shepard (NV Bar No. 13582)
 3
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 4 4035 S. El Capitan Way
   Las Vegas, NV 89147
 5 Telephone: 702-420-2001
   Facsimile: 305-437-7662
 6 ecf@randazza.com
 7
   Attorneys for Defendants,
 8 Stephen Fairfax and MTechnology
 9
                                EIGHTH JUDICIAL DISTRICT COURT
10
11                                  CLARK COUNTY, NEVADA

12
   SWITCH, LTD.,                                         Case No. A-17-761382-C
13 a Nevada limited liability company,
                                                         Dept. No. XXIX
14                 Plaintiff,
15
            vs.                                          ORDER VACATING
16                                                       PRELIMINARY INJUNCTION
   STEPHEN FAIRFAX; MTECHNOLOGY;
17 DOES 1 through 10; and ROE ENTITIES 11
   through 20, inclusive,
18
19                 Defendants.

20
            Upon a review of the above-entitled matter, the Court hereby finds:
21
            1.     This case was filed by Plaintiff Switch, Ltd., on September 12, 2017.
22
            2.     On October 11, 2017, Plaintiff filed a Motion for Preliminary Injunction on an
23
     Order Shortening Time.
24
            3.     Pursuant to the Order Shortening Time entered by this Court, Plaintiff’s Motion for
25
     Preliminary Injunction was set to be heard on October 19, 2017.
26
27
                                                    -1-
                                    Order Vacating Preliminary Injunction
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 1          4.     On October 12, 2017, Defendants Stephen Fairfax and MTechnology, Inc.,
 2   appeared in the case and notified the Court of the removal of this matter to the United States
 3 District Court for the District of Nevada.
4           5. Pursuant to 28 U.S.C. § 1446(d), a Notice of Removal becomes effective at filing
 5   and deprives the State court ofjurisdiction unless or until the case is remanded.
6           6.      This Court, unaware of the removal of this action, proceeded with considering
 7   Plaintiffs Motion for Preliminary Injunction on October 19, 2017, and granted the Motion.
 8           7.      As the removal had been effected on October 12, 2017, the Court did not have
 9   jurisdiction to enter such an Order, and the Order was thus entered in error.
IO          Accordingly, IT IS HEREBY ORDERED that the Order granting Plaintiffs Motion for
11   Preliminary Injunction, entered on October 19, 2017, is hereby VACATED.
12
13   Dated this _____ day of November 2017.
14
                                                    DISTRICT COURT JUDGE
15
16   Submitted by:
17
     RANDAZZA LEGAL, GROUP,PLLC


ü
19
     Marc J. RÌndazza-fN" 1 Bar No. 12265)
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24

25
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27
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                                      Order Vacating Preliminary Injunction
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